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                                 EXHIBIT 1

                                PLAINTIFFS’
                           TRIAL EXHIBIT LIST
Exhibi                     Date
 t No. Date Identified   Admitted        Description              Objection
    1.                               Report of the
                                     Reno/Tahoe Police
                                     Department, pages 1-
                                     16,
                                     ASA 001-016
  2.a.                               Report on Amre
                                     Ginena ASA 023
  2.b.                               Report on Heba
                                     Bekhit (Nazmi) ASA
                                     024-25
  2.c.                               Report on Reda
                                     Ginena ASA 026-27
  2.d.                               Report on Azza Eid
                                     ASA 028
  2.e.                               Report on Sabrina
                                     Kobert ASA 029
   2.f.                              Report on Nazmi
                                     Nazmi ASA 030
  2.g.                                Report on Magdy
                                      Rasikh ASA 031-032
   3.                                 Cabin Safety Report
                                      of Dalee D. Callaway
                                      ASA 019-020 and
                                      436
   4.                                 Flight
                                      Irregularity/Hazard
                                      Report by Mike
                                      Swanigan ASA 041-
                                      044. And
                                      Narrative ASA 452-
                                      454
   5.                                 Email from Bob
                                      Bonjukian ASA 038
   6.                                 Communication from
                                      Prentice to SOC ASA
                                      039-040 including

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                                PLAINTIFFS’
                           TRIAL EXHIBIT LIST
Exhibi                     Date
 t No. Date Identified   Admitted          Description             Objection
                                     Pavich Report
   7.                                Pairing Report
                                     9/28/03 ASA 446
   8.                                Customer Inflight
                                     Disturbance Report
                                     form, Ex. 45 to R.
                                     Ginena Deposition
   9.                                Cabin Safety Report
                                     form ASA 139-140
  10.                                Diagram of aircraft
                                     ASA 151
  11.                                Model of aircraft        Objection. Model not
                                     cabin (under             disclosed. F.R.C.P.
                                     construction)            26, 37.
   12.                               First class seating
                                     chart, ASA 437
   13.                               Passenger list
                                     ASA033-037
   14.                               Statement of RNO
                                     supervisor ASA 253
   15.                               Accident Reports
                                     ASA 254
  16.                                Operational Issues
                                     ASA 257-258
   17.                               E-mail Majer to crew
                                     9/30/03 ASA 455

  18.                                 E-mail Tom Romary,
                                      V.P. Marketing to
                                      crew ASA 448
  19.                                 E-mail Jeff Butler to
                                      crew ASA 447
  20.                                 Dispatch to crew
                                      ASA 445
   22.                                E-mail from
                                      Bonjukian to Kelly
                                      ASA 259
  23.                                 E-mails between

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                                PLAINTIFFS’
                           TRIAL EXHIBIT LIST
Exhibi                     Date
 t No. Date Identified   Admitted         Description              Objection
                                     Denis Mellen and
                                     Angela Kelly
                                     ASA 260
  24.                                Series of e-mails
                                     ASA 261-262
   25.                               Frank Raymond to
                                     FAM
                                     ASA 255-256
  26.                                E-mail Victoria Jones   Objection. Hearsay.
                                     to Agent Singleton
                                     FBI Las Vegas. PL
                                     766-767
  27.                                Memo Bob Moore to
                                     F/A’s
                                     ASA 438
  28.                                Chief Pilot
                                     Newsletter,
                                     ASA 439-441
  29.                                Chief Pilot
                                     Newsletter, ASA
                                     442-443. 456-458
  30.                                Memo Romary, V.P.       Objection.
                                     Marketing to F/As       Cumulative of Exhibit
                                     ASA 448                 18.
  31.                                FAA Training            Objection. Hearsay.
                                     Manual Crew
                                     Resource
                                     Management

  32.                                 FAA Advisory           Objection. Hearsay.
                                      Circular AC 120-48
  33.                                 FAA Advisory           Objection. Hearsay.
                                      Circular AC 120-51C
  34.                                 Alaska Airlines        Objection. TSA
                                      Inflight Training      required these
                                      Manual                 documents to be
                                      ASA 045-076            destroyed. Parties
                                                             must use redacted

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                                PLAINTIFFS’
                           TRIAL EXHIBIT LIST
Exhibi                     Date
 t No. Date Identified   Admitted       Description                Objection
                                                             version provided by
                                                             TSA.
  35.                               FAA Advisory             Objection. Hearsay.
                                    Circular 120-65
   36.                              Customer Inflight        Objection.
                                    Disturbance Report       Cumulative of Ex. 8.
                                    Form 9/97
   37.                              Alaska Airlines
                                    Inflight Training
                                    Manual
                                    ASA 496-501
  38.                               National Gas Flight
                                    information, Exhibit
                                    40 12/13/05
  39.                               Attachment A to
                                    Plaintiffs’ letter of
                                    11/11/05 being four
                                    pages of Ticket
                                    copies


  40.                               Attachment B to
                                    Plaintiffs’ letter of
                                    11/11/05 being two
                                    pages of Ticket
                                    copies
   41.                              Attachment C to
                                    Plaintiffs’ letter of
                                    11/11/05 being three
                                    pages of Ticket
                                    copies
  42.                               Attachment D to
                                    Plaintiffs’ letter of
                                    11/11/05 being three
                                    pages of a credit card
                                    invoice
  43.                               Attachment E to
                                    Plaintiffs’ letter of


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                                PLAINTIFFS’
                           TRIAL EXHIBIT LIST
Exhibi                     Date
 t No. Date Identified   Admitted         Description                 Objection
                                     11/11/05 being two of
                                     a credit card invoice
   44.                               Attachment F to
                                     Plaintiffs’ letter of
                                     11/11/05 being
                                     invoice for airline
                                     passage
   45.                               Photograph of some
                                     plaintiffs and Officer
                                     Beharry taken
                                     September 29, 2003
                                     at
                                     Reno/Tahoe Airport
  46.                                General physical
                                     layout of Reno/Tahoe
                                     Airport terminal,
                                     main concourse level,
                                     map (submitted as
                                     part of the plaintiffs’
                                     Rule 26 disclosures)
   47.                               Alaska Airlines            Objection. ASA 496-
                                     Flight Attendant           501 is cumulative to
                                     Manual , ASA 496-          Ex. 37.
                                     501, ASA 570 597
  48.                                Alaska Airlines            Objection. ASA 597 is
                                     Flight Operations          cumulative of Ex. 47.
                                     Manual ASA 502-
                                     545, 597-603
  49.                                Alaska Airlines            Objection as to ASA
                                     Security Manual            146. TSA required
                                     ASA 146, 546 -588.         these documents to be
                                                                destroyed. Parties
                                                                must use redacted
                                                                version provided by
                                                                TSA.
   50.                                 National Gas             Objection. Hearsay.
                                       Company
                                       informational


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                                PLAINTIFFS’
                           TRIAL EXHIBIT LIST
Exhibi                     Date
 t No. Date Identified   Admitted         Description             Objection
                                     materials (submitted
                                     as part of the
                                     plaintiffs’ Rule
                                     26 disclosures)
  51.                                Arabia Gaz              Objection. Hearsay.
                                     informational
                                     materials (submitted
                                     as part of the
                                     plaintiffs’ Rule 26
                                     disclosures)
   52.                               CTIP Oil & Gas          Objection. Hearsay.
                                     informational
                                     materials (submitted
                                     as part of the
                                     plaintiff’s Rule 26
                                     disclosures)
  53.                                FBI’s Manual of         Objection. Hearsay.
                                     Investigative
                                     Operations and
                                     Guidelines [MIOG]
                                     [pending ruling on
                                     motions in limine]
  54.                                Arabia Gaz business
                                     plan
                                     PL 1000-1005
  55.                                Memo of Eric
                                     Singleton 10/7/03 PL
                                     736-738
  56.                                Police report, cover
                                     page and attachments
                                     faxed by Reno/Tahoe
                                     Airport Police to FBI
  57.                                Copy of Mr.             Objection. Relevance.
                                     Mansour’s European      There is no evidence
                                     and UK visa             tying Mr. Mansour’s
                                                             visa issues with the
                                                             events that are the
                                                             subject of this case.


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                                PLAINTIFFS’
                           TRIAL EXHIBIT LIST
Exhibi                     Date
 t No. Date Identified   Admitted         Description               Objection
    58.                              Copy of Mr.             Objection. Relevance.
                                     Mansour’s prior US      There is no evidence
                                     visas                   tying Mr. Mansour’s
                                                             visa issues with the
                                                             events that are the
                                                             subject of this case.
  59.                                Alaska Airlines press
                                     release 10/16/2001
  60.                                FAA News Release        Objection. Hearsay.
                                     1/11/2002

   61.                               NGV Journal Pages,
                                     Ex. 117, Mansour
                                     Deposition
  62.                                Natural Gas Vehicle
                                     Fuel of the Future,
                                     Ex. 118, Mansour
                                     Deposition
  63.                                CV of Mark Swint        Objection. Hearsay.
  64.                                CV of Diana             Objection. Hearsay.
                                     Fairechild
  65                                 CV of James Wedick      Objection. Hearsay.
  66.                                CV of Edwin Mruk        Objection. Hearsay.
  67.                                FBI Manual of           Objection. Hearsay.
                                     Administrative
                                     Operations and
                                     Procedures [pending
                                     ruling on motions in
                                     limine]
   68.                               FBI web pages,          Objection. Hearsay.
                                     frequently asked
                                     questions [pending
                                     ruling on motions in
                                     limine]
  69.                                Plaintiffs’ Rule 34
                                     request, August 18,
                                     2005



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                                      PLAINTIFFS’
                                 TRIAL EXHIBIT LIST
Exhibi                           Date
 t No. Date Identified         Admitted         Description                      Objection
    70.                                    Defendant’s
                                           responses to the
                                           Plaintiffs’ Rule 34
                                           requests submitted in
                                           2005


   71.                                         Docket sheet showing Objection. Relevance.
                                               events of 2004-2005
  72.                                          Alaska Airlines
                                               Annual Report, 10K
                                               2011
  73.                                          FBI interview          Objection. Hearsay.
                                               summary, interview
                                               with Henry Chen
                                               10/01/03
  74.                                          FBI interview          Objection. Hearsay.
                                               summary, interview
                                               with David Currie
                                               10/01/03
  75.                                          Alaska Airlines Tariff
                                               (partial) ASA 080-
                                               086, 121
   76.                                         James Roberts Flight
                                               694 fact gathering
                                               and narrative ASA
                                               459-463
   77.                                         Letter of AUSA
                                               Rachow, March 1,
                                               2004 (pending
                                               motion in limine)

           Plaintiffs , by listing the above exhibits, do not waive their right to object to the
   admission of any of above listed exhibits nor do they waive their right to object to the admission
   of any exhibit listed by Defendant in its exhibit list.




                                                 -8-            PLAINTIFFS’ TRIAL EXHIBIT LIST
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